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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                 Case No.: 1:19-CR-00018-ABJ


UNITED STATES OF AMERICA,



v.

ROGER J. STONE, JR.,

            Defendant.
______________________________

                DEFENDANT ROGER STONE’S MOTION TO SUPPRESS

       Defendant ROGER STONE, files this motion to suppress all evidence as fruit of illegal

search warrants executed on specified dates and times. The warrants and applications are filed

under seal.

                                        BACKGROUND

       The Government stated in its Opposition to Stone's Motion to Dismiss (Dkt # 99) that it

will not be required to prove that the Russians hacked           either the Democratic National

Committee (“DNC”) or Democratic Congressional Campaign Committee (“DCCC”) from

outside their physical premises or that the Russians were responsible for delivering the data to

WikiLeaks. These assumptions formed the inadequate basis for the search warrants conducted in

this case and the Indictment of Defendant. In addition to the fundamental assumptions, the

government designated Roger Stone’s case as related to United States v. Netyksho et. al. No. 18-

cr-215 (ABJ) and cites to this Indictment in certain search warrant applications. (See e.g. Exhibit,

Google search warrant application at 6, ¶18). If these premises are not the foundation for

probable cause, Roger Stone communicating with a Twitter user named "Guccifer 2.0" or
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speaking with WikiLeaks, would not constitute criminal activity.

        Roger Stone has been charged with obstruction of Congress, lying to Congress, and

witness tampering under 18 U.S.C. §§ 1505, 1001, 1512(b)(1), 2. The search warrant

applications however, allege that the FBI was investigating various crimes at different times,

such as Stone for accessory after the fact, misprision of a felony, conspiracy, false statements,

unauthorized access of a protected computer, obstruction of justice, witness tampering, wire

fraud, attempt and conspiracy to commit wire fraud, and foreign contributions ban. The

uncharged conduct particularly relied upon the assumptions the Russian state is responsible for

hacking the DNC, DCCC,1 and even (although not as clear) Hillary Clinton campaign manager,

John Podesta.

        There is a certain forensic methodology that the FBI, Secret Service, or any other law

enforcement agency conducting a computer forensic analysis follows. The first, and arguably

most crucial step in the evidence gathering process, is to preserve the evidence. The imaging of

the forensic data in its native format is key to preserving forensic evidence so as to allow agents

to present authentic evidence in Court. Federal Rule of Evidence 902(14) permits authentication

through a “process of digital identification by a qualified person” as long as it complies with

Rule 902(11).2 That Rule requires compliance with the business records exception of hearsay:

“the record was made at or near the time by – or from information transmitted by someone with

knowledge.” Fed.R.Evid. 803(6)(a). Neither the Mueller report (from what we can tell), nor the

CrowdStrike Reports (also heavily redacted) provide sufficient indicia of authenticity.

1
   WikiLeaks never released the DCCC documents. The Mueller report suggests the hack of the DCCC only
provided additional keys to access the DNC servers. (Mueller Report at 38).
2
  “A challenge to the authenticity of electronic evidence may require technical information about the system or
process at issue, including possibly retaining a forensic technical expert; such factors will affect whether the
opponent has a fair opportunity to challenge the evidence given the notice provided.” Fed.R.Ev.902(14) (Comm.
note).


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         Based on the information available, the DNC either failed to alert the FBI about a major

security breach of its systems, or the FBI chose not to respond to said breach. Consequently, the

DNC hired a private company – CrowdStrike. It is also unclear if the FBI ever conducted a

forensic analysis on the DCCC servers. It is clear, however, that the government has relied on the

assumptions made by a source outside of the U.S. intelligence community that the Russian State

was involved in the hacking and that the data taken from the various servers were given to

WikiLeaks. The government cannot prove either since it did not participate in the investigation at

the earliest stage. The government does not have the evidence, and it knew it did not have the

evidence, when it applied for these search warrants. Now the government confesses: “The Office

cannot rule out that stolen documents were transferred to WikiLeaks through intermediaries who

visited during the summer of 2016.” (Mueller Report at 47).

         The government cites to CrowdStrike,3 a private forensic computer firm, but not a

government investigation through the FBI.4 CrowdStrike's draft reports were provided to the

defense, but not finalized reports, and they were heavily redacted. The first step in any computer

fraud case is to encase and image the "attacked" computer. (Exhibit, DOJ Digital Forensic

Analysis Methodology). CrowdStrike failed to encase the subject computers. This failure was

fatal to any effort undertaken to ensure that investigation about whether the Russian government

hacked the DNC, DCCC, or Podesta's computers was competent, thorough, and done by the

3
  CrowdStrike is not a government agency. It did not conduct its investigation at the behest of the government. The
DNC and DCCC hired CrowdStrike to investigate the alleged theft of its data from its servers. (Indictment, ¶¶ 1-3).
The CrowdStrike draft reports do not support its conclusions with evidence. In short, if this were an elementary
school math problem, CrowdStrike not only does not show its work, it does not show the question – only its answer.
Stone separately files a motion to compel an unredacted portion of the draft reports and any final reports. Stone also
provides the draft reports of CrowdStrike under seal as Exhibits.
4
  CrowdStrike’s three draft reports are dated August 8 and August 24, 2016. The Mueller Report states Unit 26165
officers also hacked into a DNC account hosted on a cloud-computing service on September 20, 2016, thereby
illustrating the government’s reliance on CrowdStrike even though the DNC suffered another attack under
CrowdStrike’s watch. (See Mueller Report at 49-50).


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book. In fact, during Roger Stone's testimony to the House Permanent Select Committee on

Intelligence, a squabble between members of Congress erupted over whether and when the FBI

possessed the DNC’s servers. (Exhibit, Tr. at 110-112).

       Attached to this motion, as exhibits, are declarations from William Binney and Peter

Clay. Both concur that in their opinions, WikiLeaks did not receive the stolen data from the

Russian government. Their study and examination of the intrinsic metadata in the publicly

available files on WikiLeaks demonstrates that the files that were acquired by WikiLeaks were

delivered in a medium such as a thumbdrive. The data further indicates that the files were

physically and manually acquired from the DNC inside the DNC office.

       The raison d'etre of the Special Counsel's investigation was to pursue the claims that the

Russians hacked and delivered the stolen data to WikiLeaks. (See Order appointing Special

Counsel, Dkt. # 69-4). The foundation of all the search warrants was similar. If that foundation

collapses, then the warrants must fail for lack of probable cause. Roger Stone requests this Court

grant a Franks hearing for the reasons stated. The Court has already set aside June 21, 2019 for

hearing time to discuss anticipated motions to suppress. Stone expressly requests an evidentiary

hearing at that time. If the Court were to remove from the warrant applications, all the allegations

that were speculation and are unproven or unprovable, then there would be no probable cause to

support a search warrant for Roger Stone's papers, emails, cell phones, computers, and other

devices.

                                  MEMORANDUM OF LAW

       Roger Stone is challenging the main underpinning of the search warrant applications

supporting the warrants – the Russian government hacked the DNC, DCCC, and one Clinton

Campaign official from locations outside where the computer servers were stored. First, Stone


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will demonstrate that the Government’s proposition is untrue. This assumption was not based

upon a government investigation disclosed to the defense; rather, it was based upon

CrowdStrike's, private investigation, of the respective servers of another private organization.

Second, it appears those servers have not been encased and consequently, its data not properly

preserved. The proper preservation is critical in order for it to be admissible at trial. Because of

the failure of the Government to present proof in the search warrant applications, if the Court

were to remove the misrepresentation from the warrant applications, no probable cause would

exist to support the search warrants themselves. Stone is entitled to an evidentiary hearing to

support his case, pursuant to Franks v. Delaware, 438 U.S. 154, 156, 98 S. Ct. 2674, 2676

(1978).

          The Fourth Amendment provides in relevant part that the “right of the people to be secure

in their persons, houses, papers, and effects, against unreasonable searches and seizures, shall not

be violated.” E.g. Collins v. Virginia, 138 S. Ct. 1663, 1669 (2018). The Fourth Amendment

requires a warrant supported by probable cause in order to support a lawful search. Id. Because

there was a search warrant application drafted by government agents based upon the underlying

assumption that the Russian state hacked the DNC, DCCC, and John Podesta’s emails from the

outside, the fruits of the search must be suppressed. See, e.g., Wong Sun v. United States, 371

U.S. 471, 484 (1963).

          Franks requires the Court to evaluate: 1) was there a misrepresentation in the search

warrant application; 2) was the misrepresentation reckless or worse; and, 3) if it there were

misrepresentations, does the application for the warrant survive without the offending

misrepresentations.

                 We reverse, and we hold that, where the defendant makes a substantial
                 preliminary showing that a false statement knowingly and intentionally, or

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               with reckless disregard for the truth, was included by the affiant in the
               warrant affidavit, and if the allegedly false statement is necessary to the
               finding of probable cause, the Fourth Amendment requires that a hearing
               be held at the defendant’s request.

               In the event that at that hearing the allegation of perjury or reckless
               disregard is established by the defendant by a preponderance of the
               evidence, and, with the affidavit’s false material set to one side, the
               affidavit’s remaining content is insufficient to establish probable cause,
               the search warrant must be voided and the fruits of the search excluded to
               the same extent as if probable cause was lacking on the face of the
               affidavit.


Franks, 438 U.S. at 155-56. See also Pierce v. Mattis, 256 F.Supp3d 7, 14 (D.D.C. 2017)

(Berman Jackson, J.,).

       The allegations in the warrant applications are nothing more than a collection of

conclusory statements. There is no evidence, only supposition. This is not a substitute for factual

allegations supporting probable cause.

               An affidavit in support of a warrant application “must provide the
               magistrate with a substantial basis for determining the existence of
               probable cause,” and it cannot consist of “wholly conclusory
               statement[s].” Illinois v. Gates, 462 U.S. 213, 239, 103 S.Ct. 2317, 76
               L.Ed.2d 527 (1983).

               “[P]robable cause is a fluid concept—turning on the assessment of
               probabilities in particular factual contexts—not readily, or even usefully,
               reduced to a neat set of legal rules.” Id. at 232, 103 S.Ct. 2317. The
               Supreme Court has recognized that the “task of the issuing magistrate is
               simply to make a practical, common-sense decision whether, given all the
               circumstances set forth in the affidavit before him, including the ‘veracity’
               and ‘basis of knowledge’ of persons supplying hearsay information, there
               is a fair probability that ... evidence of a crime will be found in a particular
               place.” Id. at 238, 103 S. Ct. 2317 (abandoning the rigid two-prong test for
               determining informant veracity in favor of a totality of circumstances
               approach). Thus, a magistrate is supposed to consider the “totality-of-the-
               circumstances” in making probable cause determinations. Id.




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United States v. Manafort, 313 F.Supp.3d 213, 228-29 (D.D.C. 2018). "Although we pay 'great

deference' to the judge’s initial determination of probable cause, a warrant application cannot

rely merely on 'conclusory statement[s].'" United States v. Griffith, 867 F.3d 1265, 1271 (D.C.

Cir. 2017) (citations omitted). If this Court were to remove the language regarding the Russians

hacking the DNC, DCCC, and Podesta, then the warrants lack probable cause. See Franks, 438

U.S. at 156 (removing offending portion of warrant and then evaluate probable cause); United

States v. Karo, 468 U.S. 705, 719 (1984). If this Court were to remove the conclusory

representations that the Russian state transferred the electronic data to WikiLeaks, there would

be no probable cause to support the warrants. See id.

       The indictment of Roger Stone is for obstruction of Congress, lying to Congress, and

witness tampering; however, the purported crimes investigated and presented to the various

courts reviewing the assorted warrants were much broader and were searching for a conspiracy

between Stone, the Russians, or WikiLeaks. Because the two declarations provided to the Court

debunks the underpinning of the warrants, Stone should be granted an evidentiary hearing. The

government’s agents knew that they could not prove the Russian state hacked the DNC or the

other targeted servers, and transferred the data to WikiLeaks when it presented the search

warrants to the various magistrates and district court judges.

                                           CONCLUSION

       This motion to suppress justifies an evidentiary hearing to which the Court has already

set aside hearing time on June 21, 2019.



                                                 Respectfully submitted,

                                                 By: /s/_______________


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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on May 10, 2019, I electronically filed the foregoing with the

Clerk of Court using CM/ECF. I also certify that the foregoing is being served this day on all

counsel of record or pro se parties, via transmission of Notices of Electronic Filing generated by

CM/ECF.

                                              BUSCHEL GIBBONS, P.A.

                                              ___/s/ Robert Buschel_______________
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